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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

Vv.
Hamid Akhavan, 83 20 Cr, 188 (JSR)
a/k/a “Ray Akhavan,”
ORDER
-and-
Ruben Weigand,

Defendants.

 

 

JED S. RAKOFF, United States District Judge:

WHEREAS, on October 20, 2020, the Court held a telephonic conference in the above-
captioned matter, during which the parties proposed an agreed-upon pretrial schedule;

IT IS HEREBY ORDERED that the following schedule shall apply:

11/3/2020: Government and defendants serve respective expert notice;
Government serves witness and exhibit lists, and 3500 materials;
11/10/2020: Government serves Rule 404(b) notice; Government and defendants
simultaneously file motions in limine; defendants serve respective witness and
exhibit lists, and 3500 materials;
11/17/2020: Government and defendants serve any supplemental expert notice;
11/20/2020: Government and defendants file proposed requests to charge and voir dire;
11/24/2020: Government and defendants simultancously file responses to motions in limine,
defendants serve any opposition to Rule 404(b) notice. at (7260
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"Pre=eoorritt-fusther-sehedile- a final pretrial conference on emer 11/25/2020 ot a0,
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SO ORDERED.

Dated: October 21, 2020
New York, NY 7k

JEWS. RAKOFF ~~
United States District Judge

 
